

Moroshkin v Trinity Church (2022 NY Slip Op 00254)





Moroshkin v Trinity Church


2022 NY Slip Op 00254


Decided on January 13, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 13, 2022

Before: Acosta, P.J., Manzanet-Daniels, González, Mendez, Rodriguez, JJ. 


Index No. 100051/21 Appeal No. 15047 Case No. 2021-02827 

[*1]Sergei Moroshkin, Plaintiff-Appellant,
vTrinity Church, Defendant-Respondent.


Sergei Moroshkin, appellant pro se.
Schwab &amp; Gasparini, PLLC, White Plains (Louis U. Gasparini of counsel), for respondent.



Order, Supreme Court, New York County (Barbara Jaffe, J.), entered June 30, 2021, which granted defendant's motion to dismiss the complaint, unanimously affirmed, without costs.
Plaintiff alleges that defendant's security guard sprayed him with a white powder, causing his tooth to need extraction. However, plaintiff fails to allege that the guard's act was within the scope of his duties for defendant and therefore fails to state a cause of action against defendant (see e.g. Yeboah v Snapple, Inc. , 286 AD2d 204 [1st Dept
2001]).
We have considered plaintiff's remaining contentions and find them unavailing. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 13, 2022








